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                                IN THE
                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

                                                      )
UNITED STATES OF AMERICA                              )
                                                      )       No. 23-CR-00054
            v.                                        )
                                                      )       Judge Ronald A. Guzman
THOMAS VINCENT GIRARDI                                )

        UNOPPOSED APPLICATION FOR DETERMINATION OF
          COMPETENCY PURSUANT TO 18 U.S.C. § 4241(a)

       Seema Ahmad, appointed counsel from the Federal Defender Program,

respectfully submits this unopposed application for a determination of

competency. The following information is submitted in support of this

request.

       1.        On January 31, 2023, an indictment was filed in the Central

District of California in case number 23-CR-00047-JLS1 charging Mr. Girardi

with wire fraud related to the alleged embezzlement of client funds in his

capacity as their attorney. (23-CR-47, Dkt. No. 1.)

       2.        On February 1, 2023, an indictment was also filed against Mr.

Girardi in the Northern District of Illinois. It also charges Mr. Girardi with

wire fraud in relation to client funds but the allegations are separate from

the California case.


1References to the docket in the California case will include the case number. References to the
docket in the Northern District of Illinois case will not.
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         3.    Mr. Girardi is represented by federal public defenders in the

California case and undersigned defense counsel was appointed in the

Chicago case on March 3, 2023. (Dkt. No. 37.)

         4.    Mr. Girardi was released on bond in both cases. (23-CR-47, Dkt.

No. 28.); (Dkt. No. 39.)

         5.    He is living in an assisted living facility in Southern California

where he is on a floor reserved for dementia patients. (Dkt. No. 38.)

         6.    On February 3, 2023, counsel in the California case filed an

application for competency proceedings on behalf of Mr. Girardi. That

application, which includes medical records and other sensitive information,

was filed under seal. (23-CR-47, Dkt. No. 19.)

         7.    On February 6, 2023, Magistrate Judge Karen L. Stevenson in

the California case issued an order under seal referring the case for

competency proceedings pursuant to 18 U.S.C. § 4241(a). (23-CR-47, Dkt. No.

20.)

         8.    That Order is filed concurrently with this application under seal

as Exhibit A.

         9.    There is additional cause for an order for competency proceedings

in this case. Magistrate Judge Cummings’s order following the initial

appearance states, “It was apparent from the materials filed on the docket

and the proceedings on the record in open court that defendant is suffering

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from a mental disease that likely rendered it difficult for him to understand

the nature and consequences of the proceeding.” (Dkt. No. 37.)

      10.   Mr. Girardi is also under a conservatorship due to dementia. The

order appointing his brother, Dr. Robert Girardi, as his conservator is filed

under seal concurrently with this application as Exhibit B.

      11.   For all of these reasons, Mr. Girardi seeks an order for

competency proceedings in this case.



      WHEREFORE, for the reasons referenced above, Mr. Girardi through

his counsel seeks an order for competency proceedings in this matter.

                                      Respectfully submitted,


                                      FEDERAL DEFENDER PROGRAM
                                      John F. Murphy,
                                      Executive Director

                                 By: s/ Seema Ahmad         .
                                        Seema Ahmad
                                        Counsel for Thomas Vincent Girardi
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                          CERTIFICATE OF SERVICE

      The undersigned, Seema Ahmad, an attorney with the Federal Defender
Program hereby certifies that in accordance with FED.R.CRIM. P. 49, FED. R.
CIV. P5, LR5.5, and the General Order on Electronic Case Filing (ECF), the
following document(s):

       UNOPPOSED APPLICATION FOR DETERMINATION OF
         COMPETENCY PURSUANT TO 18 U.S.C. § 4241(a)

was served pursuant to the district court’s ECF system as to ECF filings, if any,
and were sent by first-class mail/hand delivery on March 8, 2023, to
counsel/parties that are non-ECF filers.



                                By:    /s/ Seema Ahmad
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